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                           UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION

IN RE:                              )
                                    )
CATHEE EILEEN MASSEY,               )                        Case No. 23-00156-JMC-7
                                    )
                  Debtor.           )
____________________________________)
                                    )
CATHEE EILEEN MASSEY,               )
                                    )
                  Plaintiff,        )
                                    )
      v.                            )                        Adversary Proceeding No. 23-50055
                                    )
UNITED STATES DEPARTMENT            )
OF EDUCATION,                       )
                                    )
                  Defendant.        )

                             AGREED CONSENT TO JUDGMENT

         The parties, the United States of America, Department of Education, and Plaintiff, Cathee

Eileen Massey (the “Plaintiff” or the “Debtor”), hereby stipulate and agree as follows:

   1. On January 17, 2023, the Debtor commenced the above-captioned bankruptcy case by

         filing a petition under Chapter 7 of Title 11 of the United States Code, 11 U.S.C. §§ 101

         et seq. (the “Bankruptcy Code”).

   2. On June 28, 2023, the Debtor commenced the above-captioned adversary proceeding (the

         “Adversary Proceeding”) against the U.S. Department of Education by filing the

         Complaint to Determine Federal Student Loans Dischargeable for “Undue Hardship”

         Under 11 U.S.C. § 523(a)(8) [Filing No. 1 (the Complaint”)].
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   3. By the Complaint, the Plaintiff seeks to discharge, pursuant to 11 U.S.C. § 523(a)(8),

          certain student loan debt identified on the Certificate of Indebtedness filed by Education

          in this matter (the “Student Loan Debt”)

   4. In January 2024, the Debtor, pursuant to the November 17, 2022, Guidance for

          Department Attorneys Regarding Student Loan Bankruptcy Litigation, submitted to

          Education an Attestation in Support of Request for Stipulation Conceding

          Dischargeability of Student Loans (the “Attestation”).

   5. After reviewing the Attestation, the United States, Department of Education agrees that

          the Court should discharge, pursuant to 11 U.S.C. § 523(a)(8), the Student Loan Debt.

   6. The Parties desire to amicably resolve the matters at issue in the Adversary Proceeding

          and, therefore, have agreed to consent to judgment.

   7. The Parties agree that each party shall be responsible for their own costs and attorney’s

          fees in resolving this matter.

          WHEREFORE, the parties having resolved Plaintiff’s Complaint, respectfully request

that the Court enter Judgment approving the terms of the Agreed Consent to Judgment described

herein.




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      STIPULATED and AGREED to this 7th day of June 2024.

                                 Respectfully submitted,

      SAEED & LITTLE, LLP                                 ZACHARY A. MYERS
                                                          United States Attorney

By:   /s/ Eric C. Redman (with permission)       By:      /s/ Rachana N. Fischer
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on June 7, 2024, a copy of the foregoing was filed electronically.

Notice of this filing will be sent to the following parties by operation of the Court’s electronic

filing system. Parties may access this filing through the Court’s system.

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                                                              /s/ Rachana N. Fischer
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                                                              Assistant United States Attorney




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